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11/18/2022 01:07 AM CST




                                                        - 647 -
                               Nebraska Supreme Court Advance Sheets
                                        312 Nebraska Reports
                                           IN RE ESTATE OF ADELUNG
                                                Cite as 312 Neb. 647



                                 In re Estate of Madeline A.
                                     Adelung, deceased.
                       Lynda Adelung Heiden, Personal Representative
                           of the Estate of Madeline A. Adelung,
                           deceased, appellant and cross-appellee,
                              v. Kent A. Adelung, appellee and
                                       cross-appellant.
                                                   ___ N.W.2d ___

                                        Filed October 14, 2022.   No. S-21-838.

                 1. Appeal and Error. The construction of a mandate issued by an appel-
                    late court presents a question of law.
                 2. Judgments: Appeal and Error. On questions of law, an appellate court
                    is obligated to reach a conclusion independent of the determination
                    reached by the court below.
                 3. Actions: Appeal and Error. The law-of-the-case doctrine reflects the
                    principle that an issue litigated and decided in one stage of a case should
                    not be relitigated at a later stage.
                 4. Appeal and Error. Under the law-of-the-case doctrine, an appellate
                    court’s holdings on issues presented to it conclusively settle all matters
                    ruled upon, either expressly or by necessary implication.
                 5. Judgments: Appeal and Error. The law-of-the-case doctrine applies
                    with greatest force when an appellate court remands a case to an inferior
                    tribunal. Upon remand, a district court may not render a judgment or
                    take action apart from that which the appellate court’s mandate directs
                    or permits.
                 6. Judgments: Waiver: Appeal and Error. Under the mandate branch
                    of the law-of-the-case doctrine, a decision made at a previous stage of
                    litigation, which could have been challenged in the ensuing appeal but
                    was not, becomes the law of the case; the parties are deemed to have
                    waived the right to challenge that decision. But an issue is not consid-
                    ered waived if a party did not have both an opportunity and an incentive
                    to raise it in a previous appeal.
                                  - 648 -
            Nebraska Supreme Court Advance Sheets
                     312 Nebraska Reports
                       IN RE ESTATE OF ADELUNG
                            Cite as 312 Neb. 647
  Appeal from the County Court for Buffalo County: Gerald
R. Jorgensen, Jr., Judge. Affirmed.

    Blake E. Johnson, of Bruning Law Group, for appellant.

   Jared J. Krejci, of Smith, Johnson, Allen, Connick &amp; Hansen,
for appellee.

   Heavican, C.J., Cassel, Stacy, Papik, and Freudenberg,
JJ., and Noakes, District Judge.

    Heavican, C.J.
                      INTRODUCTION
  This case comes to us following our remand to the county
court for a redetermination of damages owed by the defendant.
At issue is whether the county court erred when it declined to
award prejudgment interest to the estate. The estate appeals.
We affirm.

                         BACKGROUND
   This is the second time this court has been presented with an
appeal from the estate of Madeline A. Adelung (Estate). 1 In our
earlier case, Adelung’s son, Kent A. Adelung, appealed from
the decision of the county court finding him liable following
an action for an equitable accounting sought by the Estate’s
personal representative, Lynda Adelung Heinen, Madeline’s
daughter.
   On appeal, we concluded that the Estate was barred by
the statute of limitations from recovering a portion of the
farm income it alleged that Kent had wrongfully collected.
We affirmed, as modified, the county court’s judgment and
remanded the cause to the county court with directions for the
court to calculate the judgment in conformity with our opinion.
   Upon remand, the Estate sought prejudgment interest.
The county court noted that it had not previously ordered
1
    See In re Estate of Adelung, 306 Neb. 646, 947 N.W.2d 269 (2020).
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            Nebraska Supreme Court Advance Sheets
                     312 Nebraska Reports
                       IN RE ESTATE OF ADELUNG
                            Cite as 312 Neb. 647
prejudgment interest, that this court’s opinion had made no
mention of prejudgment interest, and that to award it would
“not [be] proper.” The Estate appeals, and Kent cross-appeals.
                 ASSIGNMENTS OF ERROR
   The Estate assigns that the county court erred in not applying
prejudgment interest under Neb. Rev. Stat. § 45-104 (Reissue
2021) to the amount of the modified judgment.
   On cross-appeal, Kent assigns that the county court erred
in not concluding that the Estate failed to adequately plead or
otherwise raise the issue of prejudgment interest and, as such,
did not have a substantive right to recover such interest.
                  STANDARD OF REVIEW
   [1,2] The construction of a mandate issued by an appellate
court presents a question of law. 2 On questions of law, we are
obligated to reach a conclusion independent of the determina-
tion reached by the court below. 3
                           ANALYSIS
   This case examines the intersection of the awarding of pre-
judgment interest and the law-of-the-case doctrine. Some back-
ground on both principles is helpful.
   Statutory authority for the awarding of prejudgment interest
is separately found in Neb. Rev. Stat. § 45-103.02 (Reissue
2021) and § 45-104. We clarified in Weyh v. Gottsch 4 that
§§ 45-103.02 and 45-104 are
      alternate and independent statutes authorizing the recovery
      of prejudgment interest. In other words, the Legislature
      has created three separate ways to recover prejudgment
      interest, and none is preferred. Section 45-103.02(1)
      authorizes the recovery of prejudgment interest on unliq-
      uidated claims when the statutory preconditions are met,
2
    County of Sarpy v. City of Gretna, 276 Neb. 520, 755 N.W.2d 376 (2008).
3
    Id.4
    Weyh v. Gottsch, 303 Neb. 280, 313-14, 929 N.W.2d 40, 63 (2019).
                                    - 650 -
             Nebraska Supreme Court Advance Sheets
                      312 Nebraska Reports
                        IN RE ESTATE OF ADELUNG
                             Cite as 312 Neb. 647
       § 45-103.02(2) authorizes the recovery of prejudgment
       interest on liquidated claims, and § 45-104 authorizes the
       recovery of prejudgment interest on four categories of
       contract-based claims without regard to whether the claim
       is liquidated or unliquidated.
    [3-5] As noted, the law-of-the-case doctrine is also impli-
cated here. This doctrine reflects the principle that an issue
litigated and decided in one stage of a case should not be reliti-
gated at a later stage. 5 Under that doctrine, an appellate court’s
holdings on issues presented to it conclusively settle all matters
ruled upon, either expressly or by necessary implication. 6 The
doctrine applies with greatest force when an appellate court
remands a case to an inferior tribunal. 7 Upon remand, a district
court may not render a judgment or take action apart from that
which the appellate court’s mandate directs or permits. 8
    [6] Under the mandate branch of the law-of-the-case doc-
trine, a decision made at a previous stage of litigation, which
could have been challenged in the ensuing appeal but was not,
becomes the law of the case; the parties are deemed to have
waived the right to challenge that decision. 9 But an issue is not
considered waived if a party did not have both an opportunity
and an incentive to raise it in a previous appeal. 10
    The Nebraska Court of Appeals discussed the intersection
of prejudgment interest and the mandate branch of the law-of-
the-case doctrine in Valley Cty. Sch. Dist. 88-0005 v. Ericson
State Bank. 11 In that case, a bank (found liable below) appealed
from, among other things, the district court’s award of
 5
     deNourie &amp; Yost Homes v. Frost, 295 Neb. 912, 893 N.W.2d 669 (2017).
 6
     Id. 7
     Id. 8
     Id. 9
     Id.10
     Id.11
     Valley Cty. Sch. Dist. 88-0005 v. Ericson State Bank, 18 Neb. App. 624,
     790 N.W.2d 462 (2010).
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             Nebraska Supreme Court Advance Sheets
                      312 Nebraska Reports
                         IN RE ESTATE OF ADELUNG
                              Cite as 312 Neb. 647
prejudgment interest at a rate of 12 percent per annum. The
Court of Appeals affirmed. On remand, the district court
entered an order in conformity with the Court of Appeals’
opinion and awarded postjudgment interest at the same rate.
The bank again appealed. 12
   In defending the district court’s award, the appellee con-
tended that the law-of-the-case doctrine operated to prevent
the bank from challenging the 12-percent rate applied to the
postjudgment amount. The Court of Appeals disagreed:
     In Valley Cty. I . . . , we specifically stated that § 45-104
     applied “[b]ecause there was no ‘otherwise agreed’ upon
     rate for prejudgment interest” and that [the appellee] was
     entitled to the 12–percent prejudgment interest until the
     entry of judgment. Neither the district court’s judgment
     nor our opinion stated that the 12–percent interest rate
     would continue to be applied after entry of judgment;
     thus, the [b]ank did not have a reason to raise the issue
     of the appropriate postjudgment interest rate at that time.
     Had the district court’s initial judgment expressly stated
     a postjudgment interest rate, [the appellee’s] argument
     would have had merit. But because the judgment was
     silent on the matter of postjudgment interest, we reject
     [the appellee’s] argument that the matter should have
     been raised in the prior appeal. 13
   Also relevant to our determination is Neb. Ct. R. Pldg.
§ 6-1108(a), which states:
     A pleading which sets forth a claim for relief, whether an
     original claim, counterclaim, cross-claim, or third-party
     claim, shall contain (1) a caption, (2) a short and plain
     statement of the claim showing that the pleader is entitled
     to relief, and (3) a demand for judgment for the relief the
     pleader seeks. Relief in the alternative or of several dif-
     ferent types may be demanded. If the recovery of money
12
     See id.
13
     Id., 18 Neb. App. at 628-29, 790 N.W.2d at 466.
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             Nebraska Supreme Court Advance Sheets
                      312 Nebraska Reports
                       IN RE ESTATE OF ADELUNG
                            Cite as 312 Neb. 647
      be demanded, the amount of special damages shall be
      stated but the amount of general damages shall not be
      stated; and if interest thereon be claimed, the time from
      which interest is to be computed shall also be stated.
(Emphasis supplied.)
   In Albrecht v. Fettig, 14 the Court of Appeals discussed
whether the failure to request interest in a complaint precluded
a litigant from recovering interest, 15 noting that the purpose of
compliance with § 6-1108 was to provide notice of the relief
that the plaintiff was attempting to obtain. 16 In AVG Partners I,
this court expanded the Albrecht holding to note that “compli-
ance with § 6-1108(a) is not determinative where entitlement
to interest is based on statute and the adverse party had notice
and an opportunity to be heard prior to judgment.” 17 Based on
this, we concluded that although prejudgment interest was not
requested in the complaint, it was “the subject of extensive
argument prior to judgment” 18 and thus was recoverable.
   The county court and the parties frame the issue presented
by this appeal primarily as one involving the law-of-the-case
doctrine. The parties ask us to determine whether the fact that
this court’s mandate failed to order prejudgment interest means
that to do so would be outside of that prior mandate.
   Generally speaking, a lower court may do nothing other than
what a higher court has ordered it to do via the higher court’s
mandate. And in this case, we ordered the lower court to rede-
termine the damages award once we concluded that the statute
of limitations operated to prevent the Estate from recovering
some of the farm income that had been awarded to it by the
county court. This did not include interest.
14
     Albrecht v. Fettig, 27 Neb. App. 371, 932 N.W.2d 331 (2019).
15
     See AVG Partners I v. Genesis Health Clubs, 307 Neb. 47, 948 N.W.2d
     212 (2020) (quoting Albrecht, supra note 14).
16
     Id.
17
     Id., 307 Neb. at 64, 948 N.W.2d at 230.
18
     Id.
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         Nebraska Supreme Court Advance Sheets
                  312 Nebraska Reports
                    IN RE ESTATE OF ADELUNG
                         Cite as 312 Neb. 647
   As noted above, there are some instances where issues out-
side of the mandate may be raised on remand—namely, if there
was no opportunity or incentive to appeal from the issue now
raised. But we need not decide here whether the Estate should
have appealed from the county court’s failure to award interest
below. Rather, we find dispositive the Estate’s failure to seek
interest in its pleading or otherwise raise the issue of interest
prior to judgment.
   The purpose behind compliance with § 6-1108 of the plead-
ing rules is to provide notice to other litigants that prejudgment
interest is at issue. If there was notice, the failure to comply
with § 6-1108 might be excusable. But here, there was no
compliance with § 6-1108, nor was there notice to Kent on the
issue of prejudgment interest prior to the entry of judgment
in the Estate’s favor. On these facts, we find no error in the
district court’s refusal to award interest on remand. Finding no
merit to the Estate’s assignment of error, albeit for a different
reason than that stated by the county court, we affirm. We need
not reach Kent’s assignment of error on cross-appeal.
                       CONCLUSION
  The decision of the county court is affirmed.
                                                     Affirmed.
  Miller-Lerman, J., participating on briefs.
  Funke, J., not participating.
